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         EXHIBIT
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~ USC University of                                                                     OFFICE OF ADMISSION




\lW Southern California
    March 15, 2019




    Dear       :

    In October 2018, you were presented to an Admissions Subcommittee at the University of
    Southern California ("USC") as being an athlete of interest to our women's beach volleyball
    team. However, we recently learned that false and inaccurate information about your athletics
    credentials was submitted to USC.

    For that reason and pursuant to university policy, the letter you previously received, offering
    you conditional admission to USC (dated October 10, 2018), is invalid, and your admission to
    the University of Southern California has been rescinded. Furthermore, the university will not
    consider any applications you may submit in the future.

    We do not take these circumstances lightly and fully understand the difficulties this decision
    may present for you. However, we hope that by notifying you now, you can pursue other
    college opportunities.




    Kirk Brennan
    Associate Dean
    Director of Undergraduate Admission




                                         University of Southern California
                               Los Angeles, California 90089-0911 • Tel: 213 740 1111
